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AO 442 (Rev. 11/11} Arrest Warrant

UNITED STATES DISTRICT COURT

for the
District of Columbia
United States of America
v. ) Case: 1:22-mj-00269
Mark Thomas Moore Assigned to: Judge Meriweather, Robin M.
) Assign Date: 12/9/2022
) Description: COMPLAINT W/ ARREST WARRANT
Defendant
ARREST WARRANT

To: — Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Mark Thomas as Moore - ;

who is accused of an offense or violation based on the following document filed with the court:

O Indictment © Superseding Indictment O Information OO Superseding Information J Complaint
O} Probation Violation Petition ©) Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

October 21, 2022, 18 U.S.C. § 1951(a) 18 U.S.C. § 1951(a) (Interference with Interstate Commerce by Robbery);
October 26, 2022, 18 U.S.C. § 1951(a) 18 U.S.C. § 1951(a) (Interference with Interstate Commerce by Robbery);
November 9, 2022, 18 U.S.C. § 1951(a) 18 U.S.C. § 1951(a) (Interference with Interstate Commerce by Robbery);
November 22, 2022, 18 U.S.C. § 2114(a) (Armed Postal Robbery).

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Date: 12/09/2022

 

Issuing officer's signature

 

 

City and state: Washington, D.C. Robin M. Meriweather, U.S. Magistrate Judge
Printed name and title
7 Return ,
This warrant was received on we nes / fee A ZS _ , and the person was arrested on (date) Z/ Z3/ 20 2 22
at (city and state) fe pte

   

    

 

pus; 2-/12/202%

Arresting officer's signature

Moors Spaced het FB}
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